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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF FLORIDA
                     PENSACOLA DIVISION



RESTORE ROBOTICS REPAIRS LLC,

                     Plaintiff,

    v.                                  Case No. 3:24-cv-444-MCR-ZCB

INTUITIVE SURGICAL, INC.,

                     Defendant.




      PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY
           IN SUPPORT OF ECF NO. 27 AND ECF NO. 34




                                         Jeffrey L. Berhold
                                         JEFFREY L. BERHOLD, P.C.
                                         1230 Peachtree Street, Suite 1050
                                         Atlanta, Georgia 30309
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      Pursuant to N.D. Fla. Loc. R. 7.1(J), Plaintiff Restore Robotics Repairs LLC

(“Restore”) hereby files this notice of supplemental authority in support of its

memorandum in opposition to the motion to dismiss the First Amended Complaint

(ECF No. 27 at 15-17) and its memorandum in support of its motion for leave to file

the Second Amended Complaint (ECF No. 34 at 5-7). The supplemental authority is

Fed. Trade Comm'n v. Deere & Co., No. 25-CV-50017, 2025 WL 1638474 (N.D.

Ill. June 9, 2025).

      Deere makes three important points regarding aftermarket analysis. First,

Kodak – and Epic Games – do not apply where the defendant has market power in

the primary equipment market (Surgical Robots in this case). Id. at *3 Second, at

least one district court in the Ninth Circuit similarly believes Kodak and Epic Games

do not apply where the defendant has market power in the foremarket. Id. (citing

Lambrix v. Tesla, Inc., 737 F. Supp. 3d 822, 840 (N.D. Cal. 2024). Third, in the

absence of market power in the primary equipment market, a plaintiff can establish

a Kodak-style single-brand aftermarket by showing (1) a change in policy by the

manufacturer or (2) an inability of customers to accurately engage in lifecycle

pricing. Id.

      Deere makes these points interpreting Kodak and Epic Games after the

conflicting rulings regarding jury instructions in the SIS trial. Furthermore, Deere

is consistent with the prior rulings in this district in the S/Si EndoWrist Litigation.

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Restore Robotics, LLC v. Intuitive Surgical, Inc., No. 5:19CV55-TKW-MJF, 2019

WL 8063989, at *5-6 (N.D. Fla. Sept. 16, 2019) (“S/Si EndoWrist Litigation”)

(quoting Spectrofuge Corp. v. Beckman Instruments, Inc., 575 F.2d 256, 282 (5th

Cir. 1978) and citing Eastman Kodak Co. v. Image Tech. Servs., 504 U.S. 451, 479

n.29 (1992)).




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      Respectfully submitted on June 12, 2025.

                                        /s Jeff Berhold
                                        Jeffrey L. Berhold*
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Pursuant to N.D. Fla. Loc. R. 5.1(F)(1)(a), a certificate of service is not required.




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                   LOCAL RULE 7.1(J) CERTIFICATION

      Pursuant to N.D. Fla. Loc. R. 7.1(J), the undersigned hereby certifies that this

notice of supplemental authority contains 291 words.


                                       /s Jeff Berhold
                                       Jeffrey L. Berhold*
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